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 6                             UNITED STATES DISTRICT COURT
 7                            CENTRAL DISTRICT OF CALIFORNIA
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 9       ANTHONY BOUYER, an                       Case No. 2:21-cv-02372-MWF (MRWx)
10       individual,

11                                                  ORDER OF DISMISSAL WITH
              Plaintiff,                            PREJUDICE
12
         v.
13

14       TLHC LLC, a California limited
         liability company; and DOES 1-
15       10, inclusive,
16
              Defendants.
17

18             After consideration of the Joint Stipulation for Dismissal of the entire action
19     with Prejudice filed by Plaintiff Anthony Bouyer (“Plaintiff”) and TLHC LLC
20     (“Defendant”), the Court hereby enters a dismissal with prejudice of Plaintiff’s
21     Complaint in the above-entitled action, in its entirety. Each party shall bear his or
22     its own costs and attorneys’ fees.
23             IT IS SO ORDERED.
24

25     Dated: June 24, 2022
26                                       MICHAEL W. FITZGERALD
                                         United States District Judge
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